     Case 2:20-cr-00151-ODW Document 37 Filed 05/12/20 Page 1 of 1 Page ID #:183



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                            UNITED STATES DISTRICT COURT
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                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,               CR No. 20-00151-ODW
10
               Plaintiff,                    ORDER STAYING RELEASE OF DEFENDANT
11                                           JESSIE DEBORA
                      v.
12
     JESSIE DEBORA,
13
               Defendant.
14

15
          FOR GOOD CAUSE SHOWN, the Magistrate Judge’s May 8, 2020 release
16
     order (Docket Number 30), is hereby stayed absent further order of
17
     the Court, pending the Court’s consideration of the government’s
18
     application for review of the release order.
19
          IT IS SO ORDERED.
20

21   May 12, 2020
     DATE                                     THE HONORABLE OTIS D. WRIGHT
22                                            UNITED STATES DISTRICT JUDGE

23

24   CC: CRIMINAL INTAKE

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